            Case 7:24-cv-00114-K Document 10 Filed 08/13/24             Page 1 of 1 PageID 121

                                      UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF TEXAS
                                               501 W. 10th STREET
                                            FORT WORTH, TEXAS 76102




REED O’CONNOR                                                                              817/850-6788 Chambers
U.S. District Judge                                                                        817/850-6787 Facsimile




                                               August 13, 2024



       Karen Mitchell
       Clerk of Court
       United States District Court
       Northern District of Texas
       1100 Commerce Street
       Dallas, TX 75242


       Re:       7:24-cv-114-O


       Dear Ms. Mitchell:

              I hereby recuse myself from the above numbered case. Please see that it is assigned to
       another judge per the usual procedure.

                                                   Sincerely,


                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE
